            Case 1:12-cr-00130-AWI-BAM Document 63 Filed 09/17/12 Page 1 of 3


 1   DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN 135059
 2   1318 K Street
     Bakersfield, CA 93301
 3   Ph.: (661)326-0857
     Fax.: (661) 326-0936
 4   e-mail: lawtorres@aol.com
 5   Attorney for Defendant
     OHTONIEL PARRA-GALLARDO
 6
 7

 8
                   IN THE UNITED STATES DISTRICT COURT
 9
                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,                             Case No.: 12-CR-00130 AWI
13
                                    Plaintiff,             STIPULATION AND PROPOSED
14                                                         ORDER TO EXTEND DATE TO
                                                           SET JURY TRIAL DATE
15
     vs.
16
     LUIS MIRABETE-PENA,
17   BENJAMIN APARACIO-PABLO,
     OTHONIEL PARRA-GALLARDO,
18   FELIX SANTIAGO-MATIAS,
     MARCO ANTONIO ARIAS-SOLIS,
19   JENNY THANH NGUYEN,
     UBALDO CASTILLO-HERNANDEZ,
20   DALIA REYES-SERAPIO and
     ERETZANDERT MORALES-LOZANO.
21
                                    Defendant,
22
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE: DENNIS
23
     L. BECK AND CHRISTOPHER BAKER, ASSISTANT UNITED STATES ATTORNEY:
24
            On or about August 27, 2012 the Honorable Dennis L. Beck granted counsel’s request to
25
     continue for further review of discovery amongst all counsel and to agree upon a future trial date.
26
            Over the past couple of weeks, all counsel, herein, have diligently discussed several
27
     possible trial dates. All counsel have agreed upon a date of July, 2013, however, the sole
28
            Case 1:12-cr-00130-AWI-BAM Document 63 Filed 09/17/12 Page 2 of 3


 1   individual person disapproving of a trial date in July, 2013 is Mr. Mark Coleman’s client, Ubaldo
 2   Castillo-Hernandez. Based upon the forgoing, all counsel request an additional two week

 3   deadline to September 28, 2012, to finalize a trial date, herein. Based upon the foregoing it is
 4   stipulated between all parties.
 5
 6   Dated: September 14, 2012                             /s/Dale Blickenstaff
                                                           DALE BLICKENSTAFF
 7                                                         Attorney for Defendant
                                                           LUIS MIRABETE-PENA
 8
 9
     Dated: September 14, 2011                             /s/ Salvatore Sciandra
10                                                         SALVATORE SCIANDRA
                                                           Attorney for Defendant
11                                                         BENJAIN APARACIO-PABLO
12

13   Dated: September 14, 2012                             /s/ David A. Torres
                                                           DAVID A. TORRES
14                                                         Attorney for Defendant
                                                           OTHONIEL PARRA-GALINDO
15
16   Dated: September 14, 2012                             /s/Jon Renge
                                                           JON RENGE
17                                                         Attorney for Defendant
                                                           FELIX SANTIAGO-MATIAS
18
19   Dated: September 14, 2012                             /s/ Richard A. Beshwate
                                                           RICHARD A. BESHWATE
20                                                         Attorney for Defendant
                                                           MARCO ANTONIO ARIAS-SALAS
21
22
     Dated: September 14, 2012                             /s/ Robert Wilkinson
23                                                         ROBERT WILKINSON
                                                           Attorney for Defendant
24                                                         JENNY THANH NGUYEN
25
     Dated: September 14, 2012                             /s/ Daniel A. Bacon
26                                                         DANIEL A. BACON
                                                           Attorney for Defendant
27                                                         Dalia Reyes-Serapio

28
           Case 1:12-cr-00130-AWI-BAM Document 63 Filed 09/17/12 Page 3 of 3


 1   Dated: September 14, 2012                         /s/ Anthony Capozzi
                                                       ANTHONY CAPOZZI
 2                                                     Attorney for Defendant
                                                       ERETZANDERT MORLAES-LOZANO
 3
     Dated: September 14, 2012                         /s/ Mark Coleman
 4                                                     MARK COLEMAN
                                                       Attorney for Defendant
 5                                                     UBALDO CASTILLO HERNANDEZ
 6
     Dated: September 14, 2012                         /s/ Christopher Baker
 7                                                     CHRISTOPHER BAKER
                                                       Assistant United States Attorney
 8
 9                                             ORDER
10          IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
11   §3161(h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
12

13
14
15
16
17

18
19
20
21         IT IS SO ORDERED.
22      Dated:     September 17, 2012                         /s/ Dennis L. Beck
     3b142a                                          UNITED STATES MAGISTRATE JUDGE
23
24
25
26
27

28
